9:24-cv-04914-RMG Date Filed 04/01/25 = Entry Number 86 Page 1 of 16

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA

BEAUFORT DIVISION
RICHARD ALEXANDER MURDAUGH, _)
IR., )
)
Plaintiff, ) Civil Action No.: 9:24-cv-04914-RMG

)

% ) AMENDED COMPLAINT

) JURY TRIAL DEMANDED
BLACKFIN, INC., WARNER BROS. )
DISCOVERY, INC., WARNER MEDIA _)
ENTERTAINMENT PAGES, INC., AND_ )
CAMPFIRE STUDIOS, INC., )
)
Defendants. )

The Plaintiff alleges that:
1. The Defendant, Blackfin, Inc. is a corporation organized and existing under the laws

of New York with its principal place of business in New York, but it is subject to the jurisdiction of
the Court by reason of doing business in South Carolina and by the commission of the below described
wrongful acts.

2. Defendant Blackfin, Inc. has transacted and engaged in a persistent course of business
within this State, sent its agents into this State to collect information and create artistic work, derived
substantial revenue from goods and services consumed in this State, entered contracts to be performed
in this State, and produced goods with the reasonable expectation they would be used or consumed in
this State, all in the process of producing some of the artistic works that give rise to the cause of action
described herein.

3; The Defendant, Warner Bros. Discovery, Inc., is a corporation organized and existing

under the laws of Delaware with its principal place of business in New York, but it is subject to the
9:24-cv-04914-RMG Date Filed 04/01/25 = Entry Number 86 Page 2 of 16

jurisdiction of the Court by reason of doing business in South Carolina and by commission of the
below described wrongful acts.

4. Defendant Warner Bros. Discovery, Inc. has transacted and engaged in a persistent
course of business within this State, derived substantial revenue from goods and services consumed
in this State, entered contracts to be performed with thousands of subscribers within this State, and
produced goods with the reasonable expectation they would be used or consumed in this State, all in
the process of distributing some of the artistic works that give rise to the cause of action described
herein.

5. The Defendant, Warner Media Entertainment Pages, Inc., is a corporation organized
and existing under the laws of Georgia with its principal place of business in Georgia, but it is subject
to the jurisdiction of the Court by reason of doing business in South Carolina and by commission of
the below described wrongful acts. Warner Media Entertainment Pages, Inc. is a subsidiary of Warner
Bros. Discovery, Inc.

6. Defendant Warner Media Entertainment Pages, Inc. as owner of some of the artistic
works described herein has transacted and engaged in a persistent course of business within this State,
derived substantial revenue from goods and services consumed in this State, and sold and distributed
its artistic works with the reasonable expectation they would be used or consumed specifically in this
State.

7. The Defendant, Campfire Studios Inc., is a corporation organized and existing under
the laws of California with its principal place of business in California, but it is subject to the
jurisdiction of the Court by reason of doing business in South Carolina and by commission of the

below described wrongful acts.
9:24-cv-04914-RMG Date Filed 04/01/25 = Entry Number 86 Page 3 of 16

8. Defendant Campfire Studios Inc. has transacted and engaged in a persistent course of
business within this State, sent its agents into this State to collect information and create artistic work,
derived substantial revenue from goods and services consumed in this State, entered contracts to be
performed in this State, and produced goods with the reasonable expectation they would be used or
consumed in this State, all in the process of producing some of the artistic works that give rise to the
cause of action described herein.

9. Plaintiff is a citizen and resident of South Carolina. Plaintiff is a private figure who
prior to the events giving rise to this action had not achieved fame or notoriety to any extent and does
not exert any influence or control over government affairs.

10. Venue of the case is proper in this District under 28 U.S.C. § 1391(b)(2) because a
substantial part of the events or omissions giving rise to this action occurred in this District.

11. On July 8, 2015, Stephen Smith, whose car had given out of gas, was walking along
a rural road in Hampton County, South Carolina. It was late at night. As he was walking along the
road he was allegedly struck by a part of a vehicle and killed. News sources now report his death is
being considered by a statewide grand jury, and the media has reported on individuals unrelated to
Plaintiff allegedly being involved in his death. The Plaintiff, even though he has been falsely accused
of harming Stephen Smith as described below, has not been notified by any law enforcement entities
of any allegations against him related to Stephen Smith’s death.

12. On or about June 17, 2022, Defendant Warner Bros. Discovery, Inc. began streaming
and broadcasting a series, “Murdaugh Murders: Deadly Dynasty”, throughout the entire country,
including South Carolina, through its platform discovery+ and the Investigation Discovery television

channel, which falsely implies and subtly accuses the Plaintiff of being the murderer of Stephen
9:24-cv-04914-RMG Date Filed 04/01/25 = Entry Number 86 Page 4 of 16

Smith. During a ten-minute segment of the “Murdaugh Murders: Deadly Dynasty” series, the Plaintiff
is alluded to a number of times as the murderer of Stephen Smith.

13. These statements about the Plaintiff are defamatory in that when viewed as a whole,
they falsely imply that Plaintiff committed a crime of moral turpitude. The statements have been
published to hundreds of thousands, if not millions, of viewers who watched the show, including
viewers in South Carolina, and the defamatory statements continue to be republished as of the filing
of this action on a broad array of streaming platforms and channels owned by Defendant Warner Bros.
Discovery, Inc. Defendant Warner Bros. Discovery, Inc. has hundreds of thousands of subscribers to
its discovery+, Investigation Discovery, and other streaming and broadcasting services and channels
within South Carolina, was aware of the acute regional interest in the series, and intended for South
Carolina viewers to watch “Murdaugh Murders: Deadly Dynasty”. Defendant Warner Bros.
Discovery, Inc. purposefully and specifically directed marketing and advertising efforts for the series
to South Carolina citizens.

14. Defendant Blackfin, Inc. created and produced the series “Murdaugh Murders: Deadly
Dynasty” and in doing so published the above-described defamatory statements concerning Plaintiff
and profited from Defendant Warner Bros. Discovery, Inc.’s republishing of the statements. In
creating and producing the series, Defendant Blackfin, Inc. engaged in persistent series-development,
investigation, and filming activities within this State to create an artistic work that would have specific
appeal to viewers within this State and would be consumed by viewers within this State.

15. Beginning on November 3, 2022, the Defendants Warner Bros. Discovery, Inc., and
Warner Media Entertainment Pages, Inc. began distributing and streaming a three-part series to the
public on the Murdaugh family entitled “Low Country: The Murdaugh Dynasty” through Defendant

Warner Bros. Discovery, Inc.’s platform HBO Max (now entitled Max) throughout the entire country
4
9:24-cv-04914-RMG Date Filed 04/01/25 = Entry Number 86 Page 5 of 16

and specifically within this State. The series publishes statements that falsely suggest the Plaintiff,
along with others, murdered Stephen Smith by striking him with a baseball bat. A sequence in the
show accuses the Plaintiff of killing Stephen Smith because of his sexual orientation and further
insinuates that the Plaintiff killed Stephen Smith in relation to a romantic relationship between
Plaintiff and Smith. These statements are untrue in their entirety.

16. These statements are defamatory in that they falsely imply that Plaintiff committed
murder. The false statements have been published to hundreds of thousands, if not millions, of
viewers who watched the show, including viewers in South Carolina, and the defamatory statements
continue to be republished as of the filing of this action across a broad array of streaming platforms
and channels owned by Defendant Warner Bros. Discovery, Inc.

17. Defendant Campfire Studios Inc. created and produced the series “Low Country: The
Murdaugh Dynasty” and in doing so published the above-described defamatory statements
concerning Plaintiff and profited from Defendant Warner Bros. Discovery, Inc.’s republishing of the
statements. In creating and producing the series, Campfire Studios Inc. engaged in persistent series-
development, investigation, and filming activities within this State to create an artistic work that
would have specific appeal to viewers within this State and would be consumed by viewers within
this State.

18. Defendants’ publications are unprivileged or exceed the scope of any privilege
recognized by South Carolina and/or federal law. Defendants’ publications are the product of their
own investigations and interviews and not a report of an official law enforcement proceeding.
Defendants’ publications and republications of the defamatory statements are unfair and biased in that

Defendants deliberately chose to omit from the series information, including the information
9:24-cv-04914-RMG Date Filed 04/01/25 = Entry Number 86 Page 6 of 16

described below, that would have detracted from the series’ intended, sensational inference that
Plaintiff was responsible for the death of Mr. Smith.

19. The publications were made with reckless indifference to the truth and with
knowledge of information that would have cast serious doubts on the intended defamatory meaning
of the Defendants’ publications. In publishing these statements Defendants purposefully ignored
information demonstrating their falsity that was readily available to and within the Defendants’
knowledge, including information indicating that individuals unrelated to Plaintiff were responsible
for Mr. Smith’s death. Accident investigation notes from the South Carolina Department of Public
Safety’s (“DPS”) Multi-Disciplinary Accident Investigation Team (“MAIT”) that were available to
anid reviewed by Defendants prior to publishing and republishing their series demonstrate that at least
four individuals other than Plaintiff were rumored to be involved in the death of Mr. Smith or were
potential suspects, that there was evidence indicating Mr. Smith’s death was the result of a hit-and-
run and not a homicide, and that the only sources of information tying Plaintiff to Mr. Smith were
based on unfounded speculation, rumor, and hearsay. Defendants had no reliable or credible
information indicating that Mr. Smith’s death was the result of his sexual orientation or connected to
Plaintiff.

FOR A FIRST CAUSE OF ACTION AS TO DEFENDANTS BLACKFIN, INC. AND

WARNER BROS. DISCOVERY, INC.
(Defamation by Implication)

20. Plaintiff hereby incorporates and re-alleges paragraphs 1 through 19 as if fully set
forth herein.
21. Episode 1 of Blackfin, Inc.’s and Warner Bros. Discovery, Inc.’s series “Murdaugh

Murders: Deadly Dynasty” is entitled “Pandora’s Box”.
9:24-cv-04914-RMG Date Filed 04/01/25 = Entry Number 86 Page 7 of 16

22. The introductory sequence of the episode, which runs for approximately its first
minute, introduces numerous themes through the juxtaposed statements of reporters, investigators,
and community members which serve to drive the Defendants’ narrative throughout the remainder of
the series. Four of those themes of particular relevance to Plaintiff's claims are as follows: (1)
Plaintiff's family is an all-powerful legal dynasty in Hampton with improper influence on local law
enforcement and the judicial system, (2) the Murdaugh family has a sinister, depraved, and menacing
presence within the Hampton community, (3) the Murdaugh family has covered up and will continue
to cover up crimes to preserve their family legacy, and (4) Mr. Smith’s death is connected to Plaintiff
and the Murdaugh family. This sequence is initiated by the title sequence of the show, which includes
an on-screen graphic of “Murdaugh Murders: Deadly Dynasty”.

23. Samples of the juxtaposed, editorialized statements include “Who killed them? Why
is this happening to these people?”, “This was an incredibly powerful family”’, “The death of a 19-
year-old man which for years had been unresolved, but has now been reopened . . .”, “He was
murdered. And somebody in Hampton County knows exactly who did it”, “Everyone around this guy
seems to die”, “Your Honor, this is the tip of the iceberg”, and “Pandora’s Box is open. And the
demons are loose.” The juxtaposition of these statements intentionally vilifies the Murdaugh family
and thematically sets the stage for Defendants to later encourage the audience to take a logical leap
and conclude that Plaintiff killed Mr. Smith with a baseball bat as a result of a romantic relationship
between the two.

24. Several sequences further on in the episode reinforce the theme that the members of
the Murdaugh family hold “incredible power and influence”, were guarded by “a great protector”,
and are never held accountable for their acts because they are covered up by the family and its

influence. For example, one sequence approximately 13 minutes into the episode concludes that
7
9:24-cv-04914-RMG Date Filed 04/01/25 = Entry Number 86 Page 8 of 16

“There was a sense of invincibility, immunity and impunity around the Murdaugh family ... . This
is just probably going to be swept under the rug like everything else.” “This family was seen as
untouchable.”

2a; The episode also contains statements intended to falsely demonstrate that people in
the Hampton community were afraid of the Murdaugh family and that there were sinister and
depraved elements within the family’s ranks. Statements by a reporter and community member imply
that other community members were afraid of the Murdaugh family, that the family lacked empathy
for others, and that one of the Murdaugh children, Plaintiff's deceased brother, would “kill little baby
animals” and “could kill anyone”.

26. Episode 2 of “Murdaugh Murders: Deadly Dynasty” is entitled “Something Wicked
This Way Comes.”

21. Episode 2 picks up where Episode 1 left off, and within the first fifteen minutes
republishes a statement by a community member implying that it was known within the community
(“We all knew this was gonna happen”) that Mr. Smith’s death was “dirty business” connected to the
Murdaughs.

28. The episode then superimposes on-screen stock footage of virulent, anti-LGBTQ
demonstrations while a reporter discusses how difficult it would have been for Mr. Smith to be openly
gay in the South. This sequence foreshadows Defendants’ later implication that Mr. Smith’s death
was the result of his sexual orientation, as well as a false thread established by the series’ narrative
tying Mr. Smith romantically to Plaintiff.

29. The next sequence stitches together interview statements that, when observed by an
objective audience member who has watched the preceding parts of the series, could reasonably lead

to the inference (1) that the initial investigation, which indicated that Mr. Smith’s death may have
8
9:24-cv-04914-RMG Date Filed 04/01/25 = Entry Number 86 Page 9 of 16

been caused by a gun-shot wound, was covered up or deliberately bungled, (2) that there was no
evidence or possibility his death was the result of a hit-and-run, and (3) that Mr. Smith may have been
killed by a baseball bat. The sequence also indicates that a DPS investigator “knew something was
not right” from the start.

30. This sequence is followed by an on-screen graphic stating “Someone else is also
thinking about Stephen’s family.” The series then states that Plaintiffs uncle, Randy Murdaugh,
called the Smith family to see if they needed representation, and that this was “extraordinary.” “Why
would Randy Murdaugh call Stephen Smith’s house, after he’s found dead in the road and offer to
represent the family?” The series purposefully omits information that would have been known and is
known to the Defendants, including information that Randy Murdaugh was representing Mr. Smith’s
father, Joel Smith, in an ongoing, unrelated case at the time of Stephen Smith’s death.

31. The series publishes statements from a DPS investigator stating that he believed that
he was being followed whenever he would travel into Hampton to investigate Mr. Smith’s death by
“Jaw enforcement, some other agency, or — or some group .. . .” A reasonable inference from these
statements, in light of the themes that have been presented to the observer thus far in the series and
the investigator’s previous interview excerpts, is that ill-intentioned forces have been assembled by
the Murdaugh family to frustrate any outside law enforcement investigation into Plaintiff.

32. All of the above-described sequences, excerpts, and statements from the series were
intentionally calculated to prime the recipient for the next segment of the series, in which Defendants’
editorialization of a number of excerpts from interviews conducted by law enforcement implies and
subtly asserts that Plaintiff was responsible for the death of Mr. Smith, that there would be no
conviction because his family would cover it up due to its powerful influence, that the Murdaugh

family would do it to preserve its reputation and legacy, and that Plaintiff and Mr. Smith were in a
9
9:24-cv-04914-RMG Date Filed 04/01/25 = Entry Number 86 Page 10 of 16

romantic relationship preceding his death. During this sequence, the series depicts side-by-side
images on the screen of Plaintiff and Mr. Smith, with the image of Plaintiff purposefully arranged
such that it appears he is looking in Mr. Smith’s direction and laughing, and concludes “But then,
later on, it just kept coming up, Murdaughs, Murdaughs, Murdaughs. And then everything was just,
like, swept under the rug.” All of the recorded statements are unfounded and are solely based on
rumor.

33. The Defendants’ series is false and defamatory in that, when viewed in its entirety, it
ultimately conveys the defamatory inference that Plaintiff killed Mr. Smith in connection with a
romantic relationship, and that it was covered up by the Murdaugh family using its influence and
connections, without any factual basis. The series interweaves statements supporting its thematic
narratives with accounts from the law enforcement investigation into Mr. Smith’s death in order to
lend itself a sheen of authenticity while maximizing its sensational appeal to the audience by depicting
Mr. Smith’s death as being connected to Plaintiff and covered up by the Murdaugh family. The
implication that Plaintiff killed Mr. Smith is provably false and defamatory.

34. Defendants’ deliberate editorial choices and narrative themes suggest that they
intended, or at least endorsed, the inference that Plaintiff killed Mr. Smith. This inference is created
by the juxtaposition of certain statements within the show, even if they are opinion and/or facially
true, to create a defamatory implication, alongside certain omissions of information that would have
tended to show that Plaintiff was not involved in the death of Mr. Smith.

FOR A FIRST CAUSE OF ACTION AS TO DEFENDANTS WARNER MEDIA

ENTERTAINMENT PAGES, INC. AND CAMPFIRE STUDIOS, INC.!
(Defamation by Implication)

' This cause of action also incorporates and continues Plaintiffs defamation by implication claim against
Defendant Warner Bros. Discovery, Inc.
10
9:24-cv-04914-RMG Date Filed 04/01/25 = Entry Number 86 Page 11 of 16

35. Plaintiff hereby incorporates and re-alleges paragraphs 1 through 34 as if fully set
forth herein.

36. Episode 1 of Warner Bros. Discovery, Inc., Warner Media Entertainment Pages, Inc.,
and Campfire Studios, Inc.’s series “Low Country: The Murdaugh Dynasty” is entitled “Kings of the
Lowcountry”.

37. Episode 1 introduces numerous themes through the juxtaposed statements of
reporters, local attorneys, and community members which serve to drive the Defendants’ narrative
throughout the remainder of the series. Three of those themes of particular relevance to Plaintiff's
claims are as follows: (1) Plaintiff's family is an all-powerful legal dynasty in Hampton with improper
influence on local law enforcement and the judicial system, (2) the Murdaugh family has a sinister,
depraved, and menacing presence within the Hampton community, and (3) the Murdaugh family has
covered up and will continue to cover up crimes to preserve their family legacy. These themes
intentionally build to the next episode in the series, in which it is insinuated that Plaintiff killed Mr.
Smith and that the Murdaugh family has covered up the crime and interfered with its investigation.

38. Samples of the juxtaposed, editorialized statements include “If you didn’t know the
Murdaughs, you wasn’t from Hampton. And whether you knew ‘em or not, they knew you”, “Where
the Murdaughs go, death seems to follow”, “There is no justice in Hampton County. Yeah, if it comes
out of Hampton, it’s not going nowhere”, “People that could erase it like it never happened”, and
“Enough evil had been done by the family. It’s gone too far this time”. The juxtaposition of these
statements intentionally vilifies the Murdaugh family and thematically sets the stage for Defendants
to later encourage the audience to take a logical leap and conclude that Plaintiff killed Mr. Smith with

a baseball bat as a result of a romantic relationship between the two.

11
9:24-cv-04914-RMG Date Filed 04/01/25 = Entry Number 86 Page 12 of 16

39. Several sequences further on in the episode reinforce the theme that “Hampton is
pretty much historically dominated by one family: the Murdaughs”, that members of Plaintiffs family
were “like the puppet master”, and that Plaintiff's family was involved in law enforcement corruption
and could use their connections to cover up crimes. For example, one sequence approximately 22
minutes into the episode concludes that “You didn’t want to get on the Murdaughs’ bad side. It would
be beneficial to stay out of the Murdaughs’ radar” and that “The Murdaughs were like the Mafia. You
know you just don’t mess with ‘em.”

40. The episode also contains statements intended to falsely demonstrate that people in
the Hampton community were afraid of the Murdaugh family and that there were sinister and
depraved elements within the family’s ranks. Statements by a reporter and community member imply
that other community members were afraid of the Murdaugh family, that the family did not believe
the law applied to them, and that one of the Murdaugh family members, Plaintiff's great-grandfather,
would “hurt you any way he could”, could turn family opponents into “crab bait”, and “could have
somebody taken out in a minute.”

Al. Episode 2 of “Low Country: The Murdaugh Dynasty” is entitled “Something in the
Road.”

42. Episode 2 picks up where Episode 1 left off, stating that “What you got from a lot of
people was, ‘It’s the Murdaughs. Nothing’s going to happen.””, and within the next six minutes, it
depicts a series of juxtaposed images of newspaper articles concerning the death of Mallory Beach,
the murders of Plaintiff's mother and brother, and the death of Stephen Smith.

43. The episode then features interview excerpts discussing how difficult it would have
been for Mr. Smith to be openly gay in the South, including statements implying that it is unsafe to

be gay in Hampton County. This sequence foreshadows Defendants’ later implication that Mr.
12
9:24-cv-04914-RMG Date Filed 04/01/25 = Entry Number 86 Page 13 of 16

Smith’s death was the result of his sexual orientation, as well a false thread established by the series’
narrative tying Mr. Smith romantically to Plaintiff.

44. The next sequence stitches together interview statements that, when observed by an
objective audience member who has watched the preceding parts of the series, could reasonably lead
to the inference (1) that the initial investigation, which indicated that Mr. Smith’s death may have
been caused by a gun-shot wound, was covered up or deliberately bungled, (2) that there was no
evidence or possibility his death was the result of a hit-and-run, (3) that Mr. Smith must have been
murdered, and (4) that Mr. Smith’s death was the result of some unknown, mysterious, premeditated
conspiracy. The sequence also contains a DPS investigator’s assertion that “there were several red
flags from the start in this investigation” and that they were “missing a whole lot of pieces that we
should have not been missing.”

4S. The series asserts that Randy Murdaugh called Mr. Smith’s father the morning after
Mr. Smith’s death and asked for Mr. Smith’s electronic devices, passwords, and access to this social
media accounts, and that Randy Murdaugh was seen on the site of the accident investigation while it
was still ongoing. Additional statements imply that Randy Murdaugh knew about Mr. Smith’s death
and was on the scene before Mr. Smith’s family was even notified. These statements are false and
were purposefully inserted into the series to bolster the inference that Plaintiff killed Mr. Smith.

46. All of the above-described sequences, excerpts, and statements from the series were
intentionally calculated to prime the recipient for the next segment of the series, in which Defendants’
editorialization of a number of excerpts from interviews implies and subtly asserts that Plaintiff was
responsible for the death of Mr. Smith, that there would be no conviction because his family would

cover it up due to its powerful influence, that the Murdaugh family would do it to preserve its

13
9:24-cv-04914-RMG Date Filed 04/01/25 = Entry Number 86 Page 14 of 16

reputation and legacy, and that Plaintiff and Mr. Smith were in a romantic relationship preceding his
death. All of the recorded statements are unfounded and are solely based on rumor.

47. Statements made by interviewees during this segment include: “The rumors that’s
going around Hampton that everybody keeps coming up to me and saying it was Murdaugh boys”,
“the Murdaughs knew of Stephen’s death before, probably, some of even Stephen Smith’s family
members did”, “I just heard that one of my classmates did it... . Buster Murdaugh’, “Because when
someone told me that it was Buster, and I was like they were saying, if it’s him nothing was going to
be done about it because of who he was”, “I did hear names, or heard a name, and that name was —
he goes by Buster Murdaugh”’, “One of the rumors that we heard was that Buster and a couple of other
guys had been out, seen Stephen, and they got in some type of argument and that a 2x4 or a bat was
used to strike Stephen in the head area and that’s what caused his death”, and that there is “a classic
Murdaugh mentality of thinking he was completely above the law and that ignoring the problem
would make it go away.” The excerpts also imply that an autopsy confirmed that Mr. Smith was struck
with a baseball bat, that Plaintiff fled the country after Mr. Smith’s death, that witnesses “disappeared”
or were paid by the Murdaugh family not to speak to investigators, and that Mr. Smith had become
entangled with the Murdaugh family prior to his death. None of the implications that can be drawn
from these statements have any connection to reality or a factual basis.

48. The segment concerning Plaintiff and Mr. Smith concludes with the following
statements: “Them Murdaughs killed my son”, “The Murdaughs killed my son because he was gay”,
and “I can’t [prove it], but I just know them Murdaugh boys killed my boy.” “Being the underdogs in
town, I guess, in their head, we’re nothing, so who’s gonna notice nothing being gone?”

49. The Defendants’ series is false and defamatory in that, when viewed in its entirety, it

ultimately conveys the defamatory inference that Plaintiff killed Mr. Smith in connection with a
14
9:24-cv-04914-RMG Date Filed 04/01/25 = Entry Number 86 Page 15 of 16

romantic relationship, and that it was covered up by the Murdaugh family using its influence and
connections, without any factual basis. The series interweaves statements supporting its thematic
narratives with accounts from the law enforcement investigation into Mr. Smith’s death in order to
lend itself a sheen of authenticity while maximizing its sensational appeal to the audience by depicting
Mr. Smith’s death as being connected to Plaintiff and covered up by the Murdaugh family. The
implication that Plaintiff killed Mr. Smith is provably false and defamatory.

50. Defendants’ deliberate editorial choices and narrative themes suggest that they
intended, or at least endorsed, the inference that Plaintiff killed Mr. Smith. This inference is created
by the juxtaposition of certain statements within the show, even if they are opinion and/or facially
true, to create a defamatory implication, alongside certain omissions of information that would have
tended to show that Plaintiff was not involved in the death of Mr. Smith.

51. All of the above-described statements, and the relevant portions of each series as a
whole, are defamatory in that they falsely imply that Plaintiff was involved in the murder of Stephen
Smith; as a result of the juxtaposition of specific statements made by Defendants and republished by
Defendants, in conjunction with the Defendant’s purposeful omissions of facts contrary to the false
implications, the Plaintiff's reputation has been irreparably damaged, and he has suffered mental
anguish. In the time since Defendants’ publications were initially broadcast to the public, social media
and online forums have become rife with posts republishing Defendants’ assertions and
demonstrating that Plaintiffs reputation has been lowered in the estimation of the community. The
brunt of damage to Plaintiff's reputation has been suffered in South Carolina, where Plaintiff is
known, domiciled, and resides. Plaintiff is entitled to actual damages and punitive damages because

of the reckless and intentional conduct of the Defendants, in complete disregard of the truth, in

15
9:24-cv-04914-RMG Date Filed 04/01/25 = Entry Number 86 Page 16 of 16

creating and publishing statements falsely accusing him of being involved in the murder of Stephen

Smith.

WHEREFORE, Plaintiff prays for actual damages, punitive damages, and the costs of this

action.

BY: __/s/ Shaun Courtney Kent
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ATTORNEYS FOR PLAINTIFF

April 1, 2025
Manning, South Carolina

16
